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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                         v.                     Criminal No. 19-cr-18-ABJ
 ROGER J. STONE, JR.,


 Defendant.


                              NOTICE OF APPEARANCE

       The undersigned Assistant United States Attorney hereby notices an appearance in the

above captioned case.

                                          Respectfully submitted,

                                          TIMOTHY J. SHEA
                                          United States Attorney


                                          /s/ John Crabb Jr.
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